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9
                               UNITED STATES DISTRICT COURT
10
                              SOUTHERN DISTRICT OF CALIFORNIA
11
12                                                                '19CV2398 CAB AHG
     PENSION BENEFIT GUARANTY                           Case No.: ____________________
13   CORPORTATION
     1200 K Street, N.W. Suite 340                      COMPLAINT
14
     Washington, DC 20005,
15                                     Plaintiff,
16   v.
17
     C & J BUILDERS, INC.
18   As Plan Administrator of the C & J
     Builders Defined Benefit Pension Plan
19
     9735 Murray Drive
20   La Mesa, CA 91942,
21                                   Defendant.
22
23        COMPLAINT OF THE PENSION BENEFIT GUARANTY CORPORATION
24          1.    Plaintiff Pension Benefit Guaranty Corporation (“PBGC”) files this
25   Complaint against the Defendant, C & J Builders, Inc. (“Defendant”), as the
26   administrator of the C & J Builders Defined Benefit Pension Plan (“Pension Plan” or
27   “Plan”), and states:
28          2.    This action arises under Title IV of the Employee Retirement Income

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1    Security Act of 1974, as amended, 29 U.S.C. §§ 1301-1461 (2012 & Supp. V 2017)
2    (“ERISA”).
3          3.     PBGC brings this action, pursuant to 29 U.S.C. §§ 1342(c) and 1348,
4    requesting that this Court issue a decree (i) terminating the Pension Plan, (ii) appointing
5    PBGC as the Pension Plan’s statutory trustee, (iii) establishing July 31, 2012, as the
6    Pension Plan’s effective termination date, and (iv) ordering Defendant and all other
7    persons or entities having possession, custody, or control of any records, assets, or other
8    property of the Pension Plan or any documents needed to determine benefits payable
9    under the Plan, to transfer, convey, and deliver all such items to PBGC. Upon
10   termination and trusteeship of the underfunded Plan, PBGC will use its insurance funds
11   to pay to Defendant’s employees their pension benefits under the Pension Plan, subject to
12   ERISA’s statutory limits.
13                                JURISDICTION AND VENUE
14         4.     The Court has subject matter jurisdiction over this action pursuant to 28
15   U.S.C. § 1331 and 29 U.S.C. §§ 1303(e)(3), 1342(f).
16         5.     Venue is proper in this district pursuant to 29 U.S.C. §§ 1303(e)(2), 1342(g).
17                                           PARTIES
18         6.     PBGC is the federal agency and wholly-owned United States government
19   corporation established pursuant to 29 U.S.C. § 1302(a) to administer the pension plan
20   termination insurance program created by Title IV of ERISA. When an underfunded
21   pension plan covered under Title IV terminates, PBGC pays statutorily guaranteed
22   pension benefits to retired employees who participate in the pension plan. See 29 U.S.C.
23   §§ 1321, 1322. PBGC has its principal place of business at 1200 K Street, N.W.,
24   Washington, D.C. 20005.
25         7.     Defendant was a corporation established under the laws of California.
26   Defendant conducted business at 9735 Murray Drive, La Mesa, CA 91942.
27         8.     Defendant is the Pension Plan’s sponsor and Plan Administrator within the
28   meaning of 29 U.S.C. §§ 1002(16), 1301(a)(1).

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1                                 STATUTORY BACKGROUND
2          9.     PBGC may institute proceedings to terminate a defined benefit pension plan
3    when it determines that certain statutory criteria under ERISA § 4042(a) are met – e.g.,
4    the plan has not met the minimum funding standards required by the Internal Revenue
5    Code or the plan will be unable to pay benefits when due – and that termination is
6    necessary to protect the interests of the pension plan’s participants. 29 U.S.C. §
7    1342(a)(1), (2), (c).
8          10.    After notifying the plan administrator of its determination that the pension
9    plan should be terminated, PBGC may “apply to the appropriate United States district
10   court for a decree adjudicating that the plan must be terminated in order to protect the
11   interests of the participants.” 29 U.S.C. § 1342(c). Alternatively, PBGC and the plan
12   administrator may enter into an agreement to terminate the plan. Id.
13         11.    When an underfunded defined benefit pension plan terminates, PBGC
14   typically becomes statutory trustee of the plan and, subject to certain statutory limitations,
15   uses PBGC’s insurance funds to pay the plan’s unfunded benefits. See 29 U.S.C. § 1322.
16         12.    The termination date of a pension plan is either agreed upon by PBGC and
17   the plan administrator or, in the absence of an agreement, established by the district court.
18   29 U.S.C. § 1348(a)(4).
19         13.    Upon issuing a termination decree under 29 U.S.C. § 1342(c), the district
20   court must appoint and authorize a trustee to terminate the pension plan in accordance
21   with Title IV of ERISA. 29 U.S.C. § 1342(b), (c). PBGC may request its appointment as
22   trustee in any case. 29 U.S.C. § 1342(b)(1).
23                                  FACTUAL BACKGROUND
24         14.    Defendant established the Pension Plan, effective January 1, 2004, to
25   provide pension benefits to its employees.
26         15.    The Pension Plan is a defined benefit pension plan covered by Title IV of
27   ERISA. See 29 U.S.C. §§ 1002(35), 1321(a). The Plan has a total of five employees
28   who participate in it (“Participants”).

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1          16.    In June 2007, Defendant ceased operations. On July 30, 2012, Defendant’s
2    corporate status was administratively dissolved.
3          17.    Because Defendant ceased operations, and its corporate status was
4    administratively dissolved, the Plan is abandoned.
5          18.    PBGC estimates that the Pension Plan is underfunded, with benefit liabilities
6    of $168,935 and $0 in assets. Absent the relief sought herein, the Plan does not have a
7    sponsor to provide funding and does not have an administrator to continue to pay benefits
8    to Participants.
9          19.    On September 20, 2018, pursuant to 29 U.S.C. § 1342, PBGC sent, via
10   FedEx Express, to Defendant’s last known address c/o Defendant’s president and owner,
11   Walter Gierucki, a notice of PBGC’s determination that the Plan has not met the
12   minimum funding standards required under 26 U.S.C. § 412, that the Plan will be unable
13   to pay benefits when due, and that the Plan must be terminated in order to protect the
14   interests of the Plan’s Participants (“Notice of Determination”). The Notice of
15   Determination also states PBGC’s intention to seek Plan termination, appointment of
16   PBGC as statutory trustee of the Plan, and establishment of July 31, 2012, as the effective
17   date of the Plan’s termination. The Notice of Determination was returned to PBGC and
18   marked as undeliverable. A copy of the Notice of Determination is attached as Exhibit 1
19   and is incorporated herein by reference.
20         20.    On June 11, 2019, PBGC sent via FedEx Express another copy of the Notice
21   of Determination to Walter Gierucki’s last known personal address. The Notice of
22   Determination was successfully delivered. Once again, PBGC did not receive a response
23   from Defendant.
24                                           COUNT I
25         21.    PBGC realleges and incorporates by reference paragraphs 1 through 20.
26         22.    After PBGC determines that a pension plan covered by Title IV of ERISA
27   should terminate, ERISA authorizes the agency to apply to a United States district court
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1    for a decree adjudicating that the pension plan must be terminated to protect participants’
2    interests. 29 U.S.C. § 1342(a), (c).
3          23.       PBGC has determined under 29 U.S.C. § 1342(a)(1), (2), that the Plan
4    should terminate. As mentioned above, PBGC issued to Defendant c/o Defendant’s
5    president the Notice of Determination that the Pension Plan has not met the minimum
6    funding standards, will be unable to pay benefits when due as a result of underfunding
7    and abandonment, and must be terminated to protect the interests of the Plan’s
8    Participants.
9          24.       Accordingly, this Court may issue a decree terminating the Plan.
10                                             COUNT II
11         25.       PBGC realleges and incorporates by reference paragraphs 1 through 24.
12         26.       Upon issuing a termination decree under 29 U.S.C. § 1342(c), a United
13   States district court must appoint a trustee of the terminated pension plan, which, upon
14   application, may be PBGC. 29 U.S.C. § 1342(b)(1).
15         27.       PBGC is willing and able and hereby applies to serve as statutory trustee of
16   the Plan.
17         28.       The Court should appoint PBGC as statutory trustee of the Plan.
18                                             COUNT III
19         29.       PBGC realleges and incorporates by reference paragraphs 1 through 28.
20         30.       A pension plan’s termination date (“Plan Termination Date”) is either the
21   date agreed upon by PBGC and the plan administrator, or, in the absence of such
22   agreement, the date established by the district court. 29 U.S.C. § 1348(a)(3), (4).
23         31.       Defendant is the Plan Administrator, but Defendant has ceased operations,
24   and its corporate status has been administratively dissolved. There is no one who can act
25   on Defendant’s behalf and enter into and execute an agreement with PBGC to establish
26   the Plan Termination Date.
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1             32.   Because an agreement between PBGC and the Plan Administrator has
2    proven to be not possible, the Plan Termination Date will be the date established by this
3    Court.
4             33.   The Plan Termination Date of July 31, 2012, is appropriate because, as of
5    this date, Defendant had ceased operations, and its corporate status had dissolved. Thus,
6    Plan Participants’ expectations that the Plan would continue ceased as of July 31, 2012.
7             34.   The Court should establish July 31, 2012, as the Plan Termination Date.
8                                             COUNT IV
9             35.   PBGC realleges and incorporates by reference paragraphs 1 through 34.
10            36.   Under 29 U.S.C. § 1342(d), a court-appointed trustee is authorized, among
11   other things, to pay plan benefits and manage plan assets in accordance with Title IV of
12   ERISA.
13            37.   To carry out its statutory duties with respect to the Plan, the court-appointed
14   trustee must receive all Plan assets and all documents relating to: (1) the Plan; (2)
15   Defendant’s employees who are covered under the Plan; and (3) the Plan assets. Such
16   documents will enable PBGC to determine who is owed a pension benefit under the Plan
17   and to calculate those benefits.
18            38.   The Court should order the transfer to PBGC of all of the Plan’s assets and
19   documents, wherever located, as an incident of appointing PBGC as statutory trustee of
20   the Plan.
21            WHEREFORE, PBGC respectfully requests that the Court grant judgment on all
22   counts and issue a decree for the following relief:
23                  1.    Adjudicate that the Plan is terminated pursuant to 29 U.S.C.
24                        § 1342(c);
25                  2.    Appoint PBGC as statutory trustee of the Plan pursuant to 29 U.S.C.
26                        § 1342(c);
27                  3.    Establish July 31, 2012, as the Plan Termination Date pursuant to
28                        29 U.S.C. § 1348(a);

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1               4.   Order Defendant and all other persons or entities having possession,
2                    custody, or control of any records, assets, or other property of the Plan
3                    or any documents required to determine Plan benefits, to transfer,
4                    convey, and deliver all such items to PBGC; and
5               5.   Grant any and all other relief this Court deems just and proper.
6
7
8    Dated: December 13, 2019                  Respectfully Submitted,
9
10                                             /s/ Daniel Robertson
                                               DANIEL ROBERTSON
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12                                             JUDITH STARR
                                               General Counsel
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